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                  1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                  2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                  3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                  4   Dated: March 7, 2025                                          Cleland B. Welton II
                                                                                    APPLICANT
                  5

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                  8                                  ORDER GRANTING APPLICATION

                 9                           FOR ADMISSION OF ATTORNEY PRO HAC VICE

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                 11            IT IS HEREBY ORDERED THAT the application of Cleland B. Welton II                    is


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     � 12             granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney

                      must indicate appearance pro hac vice. Service of papers upon, and communication with, local co­
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                      counsel designated in the application will constitute notice to the party.
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                 15   Dated: ----------
                              March 7, 2025
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                      Updated 11/2021                                   2
